Case 1:18-cv-02510-SEB-DLP Document 7 Filed 08/29/18 Page 1 of 6 PageID #: 46




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

RONNIE B. CISLO,                                         )
                                                         )
                               Plaintiff,                )
                                                         )
                          v.                             )         No. 1:18-cv-02510-SEB-DLP
                                                         )
DALE BANDY,                                              )
ERIC RAWLINS,                                            )
CRAIG CRAIGE,                                            )
JOHN DOE #1,                                             )
JOHN DOE #2,                                             )
                                                         )
                               Defendants.               )


        Entry Granting Motion to Proceed In Forma Pauperis, Screening Complaint,
              Dismissing Insufficient Claims and Directing Service of Process

                                            I. In Forma Pauperis

       The plaintiff’s motion for leave to proceed without prepaying fees or costs, dkt [3], is

granted because the Court finds that the plaintiff does not have the assets or means to pay even

an initial partial filing fee. Because the Prison Litigation Reform Act mandates that a prisoner will

not be prohibited from bringing a civil action for the reason that he lacks the assets and means to

pay an initial partial filing fee, 28 U.S.C. § 1915(b)(4), the plaintiff will be granted a waiver of

payment of the initial partial filing fee in this case. He is still obligated, however, to pay the full

filing fee pursuant to the statutory formula set forth in 28 U.S.C. § 1915(b)(2). See id. § 1915(b)(1).

“All [28 U.S.C.] § 1915 has ever done is excuse pre-payment of the docket fees; a litigant remains

liable for them, and for other costs, although poverty may make collection impossible.” Abdul-

Wadood v. Nathan, 91 F.3d 1023, 1025 (7th Cir. 1996).
Case 1:18-cv-02510-SEB-DLP Document 7 Filed 08/29/18 Page 2 of 6 PageID #: 47




                                      II. Screening Standard

       The plaintiff is a prisoner currently incarcerated at the Pendleton Correctional Facility

(Pendleton). Because the plaintiff is a “prisoner” as defined by 28 U.S.C. § 1915(h), this Court

has an obligation under 28 U.S.C. § 1915A(b) to screen his complaint before service on the

defendants. Pursuant to 28 U.S.C. § 1915A(b), the Court must dismiss the complaint if it is

frivolous or malicious, fails to state a claim for relief, or seeks monetary relief against a defendant

who is immune from such relief. In determining whether the complaint states a claim, the Court

applies the same standard as when addressing a motion to dismiss under Federal Rule of Civil

Procedure 12(b)(6). See Lagerstrom v. Kingston, 463 F.3d 621, 624 (7th Cir. 2006). To survive

dismissal,

       [the] complaint must contain sufficient factual matter, accepted as true, to state a
       claim for relief that is plausible on its face. A claim has facial plausibility when
       the plaintiff pleads factual content that allows the court to draw the reasonable
       inference that the defendant is liable for the misconduct alleged.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Pro se complaints such as that filed by the plaintiff

are construed liberally and held to a less stringent standard than formal pleadings drafted by

lawyers. Obriecht v. Raemisch, 517 F.3d 489, 491 n.2 (7th Cir. 2008).

                                         II. The Complaint
       The complaint alleges that on May 10, 2018, the plaintiff was picked up by defendants

Indiana Department of Correction Transportation Officers Dale Bandy and Eric Rawlins from the

Dallas County Sheriff’s Department, in Dallas, Texas. He was in the psychiatric unit at the Dallas

County Jail at the time. The plaintiff has a long history of mental health issues.

       During the trip back to Indiana, the plaintiff suffered a severe mental health episode such

that Bandy and Rawlins contacted defendant Warden Craig Craige for guidance. Craige instructed

Bandy and Rawlins to call the Arkansas State Police for assistance. The plaintiff was taken to the
Case 1:18-cv-02510-SEB-DLP Document 7 Filed 08/29/18 Page 3 of 6 PageID #: 48




Hot Springs, Arkansas, Jail where he was placed in a restraint chair by defendant John Doe 2 and

an inmate trustee. The plaintiff was taken to a secure cell. He remained in the restraint chair for

the next 10 hours, but did receive two three minute restroom breaks. He was also assaulted by

Bandy. Bandy forced the plaintiff to tuck his penis into his anus.

        He asked for medical attention while he was in the restraint chair. The next morning, John

Doe 1 arrived and two additional transport officers, including Officer Davis, from Indiana arrived

to finish transporting the plaintiff to Indiana.

        They drove straight through to the Reception and Diagnostic Center (RDC) in Plainfield,

Indiana. Because they did not stop, the plaintiff was forced to urinate and defecate on himself.

        Upon arrival at RDC, Craige wrote the plaintiff up on three frivolous disciplinary actions.

He was given 105 days solitary confinement, and now is being held beyond his out date.

        The plaintiff is receiving pain medication for the injuries he sustained as a result of being

confined in the restraint chair.

                                       III. Insufficient Claims
        Applying the screening standard to the factual allegations in the complaint certain claims

are dismissed while other claims shall proceed as submitted.

        Claims against all unknown John Doe defendants are dismissed for failure to state a

claim upon which relief can be granted because “it is pointless to include [an] anonymous

defendant [ ] in federal court; this type of placeholder does not open the door to relation back under

Fed.R.Civ.P. 15, nor can it otherwise help the plaintiff.” Wudtke v. Davel, 128 F.3d 1057, 1060

(7th Cir. 1997) (internal citations omitted). Bringing suit against unnamed, or “John Doe,”

defendants in federal court is generally disfavored by the Seventh Circuit.

        The plaintiff’s Eighth Amendment claim that he was forced to urinate and defecate on

himself while they were traveling to Indiana is dismissed for failure to state a claim. See
Case 1:18-cv-02510-SEB-DLP Document 7 Filed 08/29/18 Page 4 of 6 PageID #: 49




Cunningham v. Eyman, 17 Fed. Appx. 449, 454 (7th Cir. 2001) (inmate failed to establish an Eighth

Amendment claim where he alleged that he urinated and defecated on himself and was forced to

remain in his soiled clothing for four to five hours because the officers refused to remove his

restraints so he could use the toilet); Key v. McKinney, 176 F.3d 1083, 1086 (8th Cir. 1999)

(prisoner who was restrained in handcuffs and shackles for 24 hours, making it more difficult for

him to relieve himself, did not suffer a constitutional violation); Harris v. Fleming, 839 F.2d 1232,

1235 (7th Cir. 1988) (temporary neglect of prisoner’s hygienic needs is insufficient to establish an

Eighth Amendment violation); Samu v. Stewart, 1:10-CV-857, 2011 WL 4064289 (W.D. Mich.

June 6, 2011) report and recommendation adopted, 1:10-CV-857, 2011 WL 4074781 (W.D. Mich.

Sept. 13, 2011) (an isolated and relatively short delay in permitting a prisoner to use a restroom is

not the sort of deprivation that implicates the Eighth Amendment).

       The plaintiff’s claim that the defendants violated the Eighth Amendment when they failed

to call a medical care provider during his transport from Texas to Indiana is dismissed for failure

to state a claim. In evaluating an Eighth Amendment claim, courts conduct both an objective and

a subjective inquiry. Farmer v. Brennan, 511 U.S. 825, 834 (1994). The objective prong asks

whether the alleged deprivation is “sufficiently serious” so that “a prison official’s act results in

the denial of the minimal civilized measure of life’s necessities.” Id. The subjective prong asks

whether the defendant was deliberately indifferent. “[C]onduct is deliberately indifferent when the

official has acted in an intentional or criminally reckless manner, i.e., the defendant must have

known that the plaintiff was at serious risk of being harmed and decided not to do anything to

prevent that harm from occurring even though he could have easily done so.” Board v. Farnham,

394 F.3d 469, 478 (7th Cir. 2005) (quotation marks, brackets, and citation omitted).
Case 1:18-cv-02510-SEB-DLP Document 7 Filed 08/29/18 Page 5 of 6 PageID #: 50




       A delay of mental health treatment for 1-2 days while the plaintiff was being transported

to Indiana did not deprive the plaintiff of the minimal civilized measure of life’s necessities.

       Although the plaintiff does not challenge the disciplinary sanctions he received when he

returned to the RDC, such claims are not cognizable in a § 1983 action and are properly brought

in a 28 U.S.C. § 2254. As such, the plaintiff’s request for relief in the form of a preliminary and

permanent injunction ordering defendant Craige to address the frivolous write-ups may not

proceed in this action.

                                  IV. Claims That May Proceed

       The plaintiff’s Eighth Amendment claim for money damages that defendant Bandy

assaulted him in a sexual manner may proceed.

       The plaintiff’s Eighth Amendment claim for money damages that defendant Bandy secured

him in a restraint chair and tightened the restraints too tight causing him lasting pain may proceed.

                                   V. Duty to Update Address

       The pro se plaintiff shall report any change of address within ten (10) days of any change.

The Court must be able to locate the plaintiff to communicate with him. If the plaintiff fails to keep

the Court informed of his current address, the action may be subject to dismissal for failure to

comply with Court orders and failure to prosecute.

                                      VI. Service of Process

       The clerk is designated pursuant to Fed. R. Civ. P. 4(c)(3) to issue process to Dale Bandy

in the manner specified by Rule 4(d). Process shall consist of the complaint, applicable forms

(Notice of Lawsuit and Request for Waiver of Service of Summons and Waiver of Service of

Summons), and this Entry.
Case 1:18-cv-02510-SEB-DLP Document 7 Filed 08/29/18 Page 6 of 6 PageID #: 51




                                          VII. Summary

       The plaintiff’s motion to proceed in forma pauperis, dkt. [3], is granted.

       The plaintiff’s Eighth Amendment claim for money damages that defendant Bandy

assaulted him in a sexual manner may proceed.

       The plaintiff’s Eighth Amendment claim for money damages that defendant Bandy secured

him in a restraint chair and tightened the restraints too tight causing him lasting pain may proceed.

       The plaintiff’s motion requesting service of process, dkt. [5], is denied as unnecessary.

       IT IS SO ORDERED.


         8/29/2018
Date:_______________                               _______________________________
                                                    SARAH EVANS BARKER, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana

Distribution:

RONNIE B. CISLO
149961
PENDLETON - CF
PENDLETON CORRECTIONAL FACILITY
Electronic Service Participant – Court Only

       DOC Employee to be electronically served:

Dale Bandy
Reception and Diagnostic Center Transport Officer
